Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 1 of 48




                           Exhibit 1
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 2 of 48


     ABS HEALTHCARE SERVICES, LLC, AND HEALTH OPTION ONE, LLC (collectively, “ICD”)
       RELATED CIVIL CASES AND ARBITRATIONS FILED SINCE APRIL 2020 (REVISED)
                                 (Parties in common with No. 21-CV-60859-RKA are listed in Bold Italics)

RELATED CIVIL CASE NO. 1
Court / Case No. / Judge /
                                   Parties                   Claims Asserted                           Allegations                        Status
       Filing Date
Broward County Circuit       ABS Healthcare         COUNT I                                 Paragraph 27:                        Prodigy/Beeman/Stormont
Court                        Services, LLC and      Breach of the January 19, 2019          “These Defendants used Prodigy       motion to compel
                             Health Option One,     Agreement for Payment of Fees,          and Infinix surreptitiously and in   arbitration (and Andrew
No. CACE-20-006195           LLC                    Compensation and Residuals (as          violation of the Agreement to        Shader/Corey
                             v.                     amended January 29, 2019)               illicitly compete with ICD and       Shader/NHS/AMC joinder
Chief Judge Jack Tuter       Andrew Shader,                                                 steal ICD’s proprietary trade        of motion) GRANTED
                             Corey Shader,          COUNT II                                secrets, business model, agents      on May 4, 2021.
Filed: April 9, 2020         National Health        Tortious Interference with Agent        and customer base. Upon
                                                                                                                                 Order Compelling
                             Solutions, Inc.        Contracts                               information and belief, Defendants
                                                                                                                                 Arbitration attached as
Complaint and docket         (“NHS”), Infinix                                               have funded other companies for a
                                                                                                                                 EXHIBIT [A-3]
attached as EXHIBITS         Media LLC              COUNT III                               similar purpose and have provided
[A-1 and A-2]                (“Infinix”), Prodigy   Tortious Interference with Business     financial incentives to agents to    See Related Arbitration
                             Health Group, LLC      Relationships (prospective              convince them to violate their       Case No. 1A.
                             (“Prodigy”), Adam      customers)                              contracts with Plaintiffs.”
                             Beeman, Joy
                             Stormont, Alliance     COUNT IV
                             Marketing              Misappropriation of Trade Secrets,
                             Corporation            Fla. Stat. Chap. 688, Florida Uniform
                             (“AMC”)                Trade Secrets Act (“FUTSA”)

                                                    COUNT V
                                                    Violation of Non-Compete, Fla. Stat.
                                                    Chap. 542

                                                    COUNT VI
                                                    Declaratory Judgment
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 3 of 48


RELATED ARBITRATION CASE NO. 1A
Court / Case No. / Judge /
                                   Parties                    Claims Asserted                         Allegations                         Status
       Filing Date
American Arbitration         ABS Healthcare         COUNT I                                Paragraph 56:                        Pending
Association (“AAA”)          Services, LLC and      Breach of Pre-2019 Agreements          “Working in concert, Respondents
Commercial Arbitration       Health Option One,                                            have engaged in, and continue to
                                                    COUNT II
                             LLC                                                           engage in, a scheme to steal ICD’s
                                                    Breach of the January 19, 2019
No. TBD                      v.                                                            business. To carry out the scheme,
                                                    Agreement for Payment of Fees,
                             Andrew Shader,                                                Respondents have conspired, and
                                                    Compensation and Residuals (as
Arbitrator: TBD              Corey Shader,                                                 continue to conspire, to steal
                                                    amended January 29, 2019)
                             National Health                                               ICD’s business by, among other
Filed: July 11, 2021         Solutions, Inc.        COUNT III                              things, setting up sham,
                             (“NHS”), Infinix       Tortious Interference with Agent       competing entities, interfering
                             Media LLC              Contracts                              with the ICD Exclusive Agent
Demand for Arbitration
                             (“Infinix”), Prodigy                                          Agreements, illicitly soliciting
attached as                                         COUNT IV
                             Health Group, LLC                                             ICD’s customers and prospective
EXHIBIT [1A]                                        Tortious Interference with Business
                             (“Prodigy”), Adam                                             customers, improperly interfering
                                                    Relationships (existing and
                             Beeman, Joy                                                   with ICD’s business relationships
                                                    prospective customers)
                             Stormont, Alliance                                            with call centers, insurance
                             Marketing              COUNT V                                carriers, lead generators, and
                             Corporation            Misappropriation of Trade Secrets      administrators and
                             (“AMC”)                                                       misappropriating ICD’s
                                                    COUNT VI                               confidential information and
                                                    Conspiracy to Misappropriate Trade     trade secrets.”
                                                    Secrets
                                                    COUNT VII
                                                    Violation of Non-Compete, Fla. Stat.
                                                    Chapter 542
                                                    COUNT VIII
                                                    Declaratory Judgment
                                                    COUNT VIIII [sic[
                                                    Conspiracy to Breach the ICD
                                                    Exclusive Agent Agreements
                                                    COUNT X
                                                    Injunctive Relief
                                                    COUNT XI
                                                    Fraudulent Inducement




                                                                            2
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 4 of 48


RELATED CIVIL CASE NO. 2
Court / Case No. / Judge
                                  Parties                    Claims Asserted                           Allegations                         Status
     / Filing Date
Miami-Dade County          ABS Healthcare          COUNT I                                 Paragraph 23:                          On March 17, 2021, the
Circuit Court              Services, LLC and       Conspiracy to Breach the ICD            “Defendants have conspired with        Third District Court of
                           Health Option One,      Exclusive Agent Agreements              others, including Andrew Shader,       Appeal REMANDED
No. 2020-008460 CA 44      LLC                                                             Corey Shader, National Health          WITH INSTRUCTIONS
                           v.                      COUNT II                                Solutions, Inc. (“NHS”), and           to grant motion to compel
Hon. William Thomas        Kratos Investments      Tortious Interference With Agent        exclusive licensed agents of ICD       arbitration as to ALL
                           LLC, Health Team        Agreements                              (identified below), to steal ICD’s     claims.
Filed: April 15, 2020      One LLC, Complete                                               business by, among other things,
                           Vital Care LLC, Vital   COUNT III                               setting up sham, competing             On April 25, 2021, the
Complaint and docket       Care One LLC, Health    Tortious Interference with Business     entities, interfering with the ICD     trial court GRANTED
attached as EXHIBITS       Essential Care LLC,     Relationships (prospective customers)   Exclusive Agent Agreements,            Defendants’ Motion to
[B-1 and B-2]              and Richard Ryscik                                              illicitly soliciting ICD’s customers   Compel Arbitration.
                                                   COUNT IV                                and prospective customers, and
                                                   Misappropriation of Trade Secrets       misappropriating ICD’s                 See Related Arbitration
                                                                                           confidential information and           Case No. 3.
                                                   COUNT V                                 trade secrets.”
                                                   Conspiracy to Misappropriate Trade                                             Third District Court of
                                                                                           Paragraph 26:
                                                   Secrets (with the Agents)                                                      Appeal Opinion attached
                                                                                           “In order to steal ICD’s business,
                                                                                                                                  as EXHIBIT B-3; Order
                                                                                           Kratos has appointed numerous
                                                                                                                                  Compelling Arbitration
                                                                                           Agents who have ICD Exclusive
                                                                                                                                  attached as EXHIBIT
                                                                                           Agent Agreements and, in
                                                                                                                                  B-4.
                                                                                           conspiracy with Andrew Shader,
                                                                                           Corey Shader, and NHS,
                                                                                           knowingly solicited and induced
                                                                                           such Agents to violate and breach
                                                                                           their contractual and fiduciary
                                                                                           obligations to ICD. Among those
                                                                                           agents are Barbara Baca, James
                                                                                           Hardill, Bradley Tierney, Francis
                                                                                           Desola, Alex Geissler, Adam
                                                                                           Bassell, Harry Slater, and Ryan
                                                                                           Kelty.”




                                                                          3
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 5 of 48


RELATED ARBITRATION CASE NO. 3
Court / Case No. / Judge
                                  Parties                  Claims Asserted                           Allegations                            Status
     / Filing Date
American Arbitration       ABS Healthcare          COUNT I                             Paragraph 20:                              Pending
Association (“AAA”)        Services, LLC and       Conspiracy to Breach the ICD        “Respondents have engaged in, and
Commercial Arbitration     Health Option One,      Exclusive Agent Agreements          continue to engage in, a scheme to
                           LLC                                                         steal ICD’s business. To carry out the
No. 01-21-0003-7170        v.                      COUNT II                            scheme, the Respondents have
                           Kratos Investments      Tortious Interference With Agent    conspired, and continue to conspire,
Arbitrator: TBD            LLC, Health Team        Agreements                          with others, including Andrew Shader,
                           One LLC, Complete                                           Corey Shader, National Health
Filed: May 4, 2021         Vital Care LLC, Vital   COUNT III                           Solutions, Inc. (“NHS”), and
                           Care One LLC, Health    Tortious Interference with          exclusive licensed agents of ICD
Demand for Arbitration     Essential Care LLC,     Business Relationships              (identified below), to steal ICD’s
attached as EXHIBIT        and Richard Ryscik      (prospective customers)             business by, among other things,
[C]                                                                                    setting up sham, competing entities,
                                                   COUNT IV                            interfering with the ICD Exclusive
                                                   Misappropriation of Trade Secrets   Agent Agreements, illicitly soliciting
                                                                                       ICD’s customers and prospective
                                                   COUNT V                             customers, improperly interfering with
                                                   Conspiracy to Misappropriate        ICD’s business relationships … and
                                                   Trade Secrets (with the Agents)     misappropriating ICD’s confidential
                                                                                       information and trade secrets.
                                                   COUNT VI
                                                                                       Paragraph 23:
                                                   Injunctive Relief
                                                                                       In order to steal ICD’s business, Kratos
                                                                                       has appointed numerous Agents who
                                                                                       have ICD Exclusive Agent Agreements
                                                                                       and, in conspiracy with Andrew
                                                                                       Shader, Corey Shader, and NHS,
                                                                                       knowingly solicited and induced such
                                                                                       Agents to violate and breach their
                                                                                       contractual and fiduciary obligations
                                                                                       to ICD. Among those agents are
                                                                                       Barbara Baca, James Hardill, Bradley
                                                                                       Tierney, Francis Desola, Alex
                                                                                       Geissler, Adam Bassell, Harry Slater,
                                                                                       and Ryan Kelty.




                                                                          4
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 6 of 48


RELATED CIVIL CASE NO. 4
Court / Case No. / Judge
                                      Parties                      Claims Asserted                         Allegations                       Status
     / Filing Date
Broward County Circuit          ABS Healthcare           COUNT I                                 Paragraph 30:                      Defendant’s Motion to
Court                           Services, LLC and        Breach of Agent Agreement               “Working in concert with           Stay or Abate Proceedings
                                Health Option One,       COUNT II                                others, including Corey Shader,    Until Resolution of Prior
No. CACE-20-006862              LLC                      Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,        Pending California Action
                                v.                       Agent Agreement)                        Joy Stormont, Infinix Media        GRANTED on June 10,
Hon. Sandra Perlman             Bradley Tierney          COUNT III                               LLC, Prodigy Health Group          2020.
                                                         Permanent Injunctive Relief (under      LLC, National Health
                                                                                                                                    See Related Civil Case
Filed: April 22, 2020           (ALLEGED                 FUTSA)                                  Solutions, Inc., Alliance
                                                                                                                                    No. 5, below.
                                FORMER ICD               COUNT IV                                Marketing Corporation, Kratos
Complaint and docket            AGENT)                   Misappropriation of Trade Secrets –     Investments LLC, Health Team
attached as EXHIBITS                                     Disgorgement                            One LLC, Complete Vital Care
[D-1 and D-2]                                            COUNT V                                 LLC, Vital Care One LLC,           Order Staying Case
                                                         Tortious Interference with Other        Health Essential Care LLC, and     attached as EXHIBIT
                                                         Agents’ Agent Agreements                Richard Ryscik and the             D-3.
                                                         COUNT VI                                following agents: Alex Geissler,
                                                         Unjust Enrichment – Constructive        Harry Slater, Adam Bassell,
                                                         Trust (Trade Secrets)                   Francis Desola, Barbara Baca,
                                                                                                 Ryan Kelty, and James Hardill,
                                                                                                 Defendant Tierney has engaged
                                                                                                 in a scheme to steal ICD’s
                                                                                                 business.


RELATED CIVIL CASE NO. 5
  Court / Case No. / Judge /
                                                     Parties                              Claims Asserted                                 Status
         Filing Date
Superior Court of California,        Legacy Insurance Solutions LLC,        Action for declaratory judgment and             On July 20, 2020, Judge Karlan
County of Los Angeles                and Bradley Tierney                    injunction by Bradley Tierney, an alleged       entered a TEMPORARY
                                     v.                                     former ICD agent, that the ICD Agent            RESTRAINING ORDER
No. 20SMCV00617                      ABS Healthcare Services, LLC,          Agreement is an illegal and unenforceable       precluding ABS Healthcare
                                     Health Option One, LLC, and            restraint of trade.                             Services, LLC and Health
Hon. Craig D. Karlan                 DOES 1-20                                                                              Option One, LLC, from
                                                                                                                            enforcing any of the restrictive
Filed: April 23, 2020                                                                                                       provisions or covenants in the
                                                                                                                            Agent Agreement.
Complaint and docket
                                                                                                                            TRO attached as EXHIBIT E-3.
attached as EXHIBITS [E-1
and E-2]


                                                                               5
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 7 of 48


RELATED CIVIL CASE NO. 6
Court / Case No. / Judge
                                  Parties                  Claims Asserted                           Allegations                       Status
     / Filing Date
Broward County Circuit      ABS Healthcare       COUNT I                                  Paragraph 30:                      On July 6, 2020, plaintiffs
Court                       Services, LLC and    Breach of Agent Agreement                “Working in concert with           filed a Notice of
                            Health Option One,   COUNT II                                 others, including Corey Shader,    Voluntary Dismissal
No. CACE-20-006863          LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,        Without Prejudice of
                            v.                   Agent Agreement)                         Joy Stormont, Infinix Media        Counts I and V.
Hon. Nicholas Lopane        James Hardill        COUNT III                                LLC, Prodigy Health Group
                                                                                                                             On July 28, 2020, Motion
                                                 Permanent Injunctive Relief (under       LLC, National Health
                                                                                                                             to Compel Arbitration
Filed: April 22, 2020       (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance
                                                                                                                             GRANTED.
                            AGENT)               COUNT IV                                 Marketing Corporation, Kratos
Complaint and docket                             Misappropriation of Trade Secrets –      Investments LLC, Health Team       On March 11, 2021,
attached as EXHIBITS                             Disgorgement                             One LLC, Complete Vital Care       Fourth District Court of
[F-1 and F-2]                                    COUNT V                                  LLC, Vital Care One LLC,           Appeal AFFIRMED.
                                                 Tortious Interference with Other         Health Essential Care LLC, and
                                                 Agents’ Agent Agreements                 Richard Ryscik and the             On October 2, 2020,
                                                 COUNT VI                                 following agents: Alex Geissler,   James Hardill filed
                                                 Unjust Enrichment – Constructive         Bradley Tierney, Adam Bassell,     Arbitration, AAA Case
                                                 Trust (Trade Secrets)                    Francis Desola, Barbara Baca,      No. 01-20-0015-1104.
                                                                                          Harry Slater, and Ryan Kelty,
                                                                                          Defendant Hardill has engaged      See Related Arbitration
                                                                                          in a scheme to steal ICD’s         Case No. 7 below.
                                                                                          business.
                                                                                                                             Order Compelling
                                                                                                                             Arbitration attached as
                                                                                                                             EXHIBIT F-3.


RELATED ARBITRATION CASE NO. 7
Court / Case No. / Judge
                                  Parties                              Arbitration Claims Asserted                                     Status
       / Filing Date
AAA Commercial              James Hardill        Arbitration action by James Hardill, a former ICD agent, for declaratory    Preliminary Hearing held
Arbitration                 v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable        on April 29, 2021.
                            ABS Healthcare       restraint of trade and that Mr. Hardill did not receive or misappropriate
No. 01-20-0015-1104         Services, LLC and    ICD trade secret information.
Arbitrator: John Arrastia   Health Option One,
Filed: October 2, 2020      LLC

Complaint and docket
attached as EXHIBIT
[G]

                                                                         6
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 8 of 48


RELATED CIVIL CASE NO. 8
Court / Case No. / Judge
                                  Parties                  Claims Asserted                          Allegations                        Status
     / Filing Date
Broward County Circuit      ABS Healthcare       COUNT I                                  Paragraph 30:                      On July 6, 2020, plaintiffs
Court                       Services, LLC and    Breach of Agent Agreement                “Working in concert with           filed a Notice of
                            Health Option One,   COUNT II                                 others, including Corey Shader,    Voluntary Dismissal
No. CACE-20-006870          LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,        Without Prejudice of
                            v.                   Agent Agreement)                         Joy Stormont, Infinix Media        Counts I and V.
Hon. Nicholas Lopane        Francis DeSola       COUNT III                                LLC, Prodigy Health Group
                                                                                                                             On July 28, 2020, Motion
                                                 Permanent Injunctive Relief (under       LLC, National Health
                                                                                                                             to Compel Arbitration
Filed: April 22, 2020       (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance
                                                                                                                             GRANTED.
                            AGENT)               COUNT IV                                 Marketing Corporation, Kratos
Complaint and docket                             Misappropriation of Trade Secrets –      Investments LLC, Health Team       On March 11, 2021,
attached as EXHIBITS                             Disgorgement                             One LLC, Complete Vital Care       Fourth District Court of
[H-1 and H-2]                                    COUNT V                                  LLC, Vital Care One LLC,           Appeal AFFIRMED.
                                                 Tortious Interference with Other         Health Essential Care LLC, and
                                                 Agents’ Agent Agreements                 Richard Ryscik and the             On October 22, 2020,
                                                 COUNT VI                                 following agents: James            Francis DeSola filed
                                                 Unjust Enrichment – Constructive         Hardill, Bradley Tierney, Adam     Arbitration, AAA Case
                                                 Trust (Trade Secrets)                    Bassell, Alex Geissler, Barbara    No. 01-20-0015-3776.
                                                                                          Baca, Harry Slater, and Ryan
                                                                                          Kelty, Defendant Desola has        See Related Arbitration
                                                                                          engaged in a scheme to steal       Case No. 9 below.
                                                                                          ICD’s business.”
                                                                                                                             Order Compelling
                                                                                                                             Arbitration attached as
                                                                                                                             EXHIBIT H-3.
RELATED ARBITRATION CASE NO. 9
Court / Case No. / Judge
                                  Parties                              Arbitration Claims Asserted                                     Status
       / Filing Date
AAA Commercial              Francis DeSola       Arbitration action by Francis Desola, a former ICD agent, for declaratory   Preliminary Hearing held
Arbitration                 v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable        on April 29, 2021.
                            ABS Healthcare       restraint of trade and that Mr. Desola did not receive or misappropriate
No. 01-20-0015-3776         Services, LLC and    ICD trade secret information.
                            Health Option One,
Arbitrator: John Arrastia   LLC

Filed: October 22, 2020

Demand for Arbitration
attached as EXHIBIT [I]


                                                                        7
               Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 9 of 48


RELATED CIVIL CASE NO. 10
Court / Case No. / Judge
                                 Parties                  Claims Asserted                           Allegations                         Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                  Paragraph 30:                        On May 12, 2020, Ryan
Court                      Services, LLC and    Breach of Agent Agreement                “Working in concert with             Kelty filed a Motion to
                           Health Option One,   COUNT II                                 others, including Corey Shader,      Compel Arbitration.
No. CACE-20-006868         LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                         Joy Stormont, Infinix Media          On September 1, 2020,
Hon. Michele Towbin        Ryan Kelty           COUNT III                                LLC, Prodigy Health Group            plaintiffs filed a Notice of
Singer                                          Permanent Injunctive Relief (under       LLC, National Health                 Voluntary Dismissal
                           (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance            Without Prejudice of
Filed: April 22, 2020      AGENT)               COUNT IV                                 Marketing Corporation, Kratos        Counts I and V.
                                                Misappropriation of Trade Secrets –      Investments LLC, Health Team
Complaint and docket                            Disgorgement                             One LLC, Complete Vital Care         On March 19, 2021, Ryan
attached as EXHIBITS                            COUNT V                                  LLC, Vital Care One LLC,             Kelty filed Arbitration,
[J-1 and J-2]                                   Tortious Interference with Other         Health Essential Care LLC, and       AAA Case No. 01-21-
                                                Agents’ Agent Agreements                 Richard Ryscik and the               0002-3743.
                                                COUNT VI                                 following agents: Alex Geissler,
                                                Unjust Enrichment – Constructive         Bradley Tierney, Adam Bassell,       See Related Arbitration
                                                Trust (Trade Secrets)                    Francis Desola, Barbara Baca,        Case No 11 below.
                                                                                         Harry Slater, and James
                                                                                         Hardill, Defendant Kelty has
                                                                                         engaged in a scheme to steal
                                                                                         ICD’s business.”


RELATED ARBITRATION CASE NO. 11
Court / Case No. / Judge
                                 Parties                              Arbitration Claims Asserted                                       Status
       / Filing Date
AAA Commercial             Ryan Kelty           Arbitration action by Ryan Kelty, a former ICD agent, for declaratory         Pending
Arbitration                v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable
                           ABS Healthcare       restraint of trade and that Mr. Kelty did not receive or misappropriate ICD
No. 01-21-0002-3743        Services, LLC and    trade secret information.
                           Health Option One,
Arbitrator: TBA            LLC

Filed: March 19, 2021

Complaint and docket
attached as EXHIBIT
[K]


                                                                       8
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 10 of 48


RELATED CIVIL CASE NO. 12
Court / Case No. / Judge
                                 Parties                  Claims Asserted                            Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                   Paragraph 30:                      On June 18, 2020, Alex
Court                      Services, LLC and    Breach of Agent Agreement                 “Working in concert with           Geissler filed a Motion to
                           Health Option One,   COUNT II                                  others, including Corey Shader,    Compel Arbitration.
No. CACE-20-006873         LLC                  Permanent Injunctive Relief (based on     Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                          Joy Stormont, Infinix Media        On July 14, 2020,
Hon. Jeffrey R. Levenson   Alex Geissler        COUNT III                                 LLC, Prodigy Health Group          plaintiffs filed a Notice of
                                                Permanent Injunctive Relief (under        LLC, National Health               Voluntary Dismissal
Filed: April 22, 2020      (FORMER ICD          FUTSA)                                    Solutions, Inc., Alliance          Without Prejudice of
                           AGENT)               COUNT IV                                  Marketing Corporation, Kratos      Counts I and V.
Complaint and docket                            Misappropriation of Trade Secrets –       Investments LLC, Health Team
attached as EXHIBITS                            Disgorgement                              One LLC, Complete Vital Care       On March 19, 2021, Alex
[L-1 and L-2]                                   COUNT V                                   LLC, Vital Care One LLC,           Geissler filed Arbitration,
                                                Tortious Interference with Other          Health Essential Care LLC, and     AAA Case No. 01-21-
                                                Agents’ Agent Agreements                  Richard Ryscik and the             0002-3741.
                                                COUNT VI                                  following agents: James
                                                Unjust Enrichment – Constructive          Hardill, Bradley Tierney, Adam     See Related Arbitration
                                                Trust (Trade Secrets)                     Bassell, Francis Desola,           Case No 13 below.
                                                                                          Barbara Baca, Harry Slater,
                                                                                          and Ryan Kelty, Defendant
                                                                                          Geissler has engaged in a
                                                                                          scheme to steal ICD’s
                                                                                          business.”


RELATED ARBITRATION CASE NO. 13
Court / Case No. / Judge
                                 Parties                              Arbitration Claims Asserted                                      Status
       / Filing Date
AAA Commercial             Alex Geissler        Arbitration action by Alex Geissler, a former ICD agent, for declaratory     Pending
Arbitration                v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable
                           ABS Healthcare       restraint of trade and that Mr. Geissler did not receive or misappropriate
No. 01-21-0002-3741        Services, LLC and    ICD trade secret information.
                           Health Option One,
Arbitrator: TBA            LLC

Filed: March 19, 2021

Demand for Arbitration
attached as
EXHIBIT [M]

                                                                        9
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 11 of 48


RELATED CIVIL CASE NO. 14
Court / Case No. / Judge
                                 Parties                  Claims Asserted                        Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 30:                    No service of process.
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with
                           Health Option One,   COUNT II                                others, including Corey
No. CACE-20-006872         LLC                  Permanent Injunctive Relief (based on   Shader, Andrew Shader, Adam
                           v.                   Agent Agreement)                        Beeman, Joy Stormont, Infinix
Hon. Martin J. Bidwill     Adam Bassell         COUNT III                               Media LLC, Prodigy Health
                                                Permanent Injunctive Relief (under      Group LLC, National Health
Filed: April 22, 2020      (FORMER ICD          FUTSA)                                  Solutions, Inc., Alliance
                           AGENT)               COUNT IV                                Marketing Corporation, Kratos
Complaint and docket                            Misappropriation of Trade Secrets –     Investments LLC, Health
attached as EXHIBITS                            Disgorgement                            Team One LLC, Complete
[N-1 and N-2]                                   COUNT V                                 Vital Care LLC, Vital Care One
                                                Tortious Interference with Other        LLC, Health Essential Care
                                                Agents’ Agent Agreements                LLC, and Richard Ryscik and
                                                COUNT VI                                the following agents: James
                                                Unjust Enrichment – Constructive        Hardill, Bradley Tierney,
                                                Trust (Trade Secrets)                   Francis Desola, Alex Geissler,
                                                                                        Barbara Baca, Harry Slater,
                                                                                        and Ryan Kelty, Defendant
                                                                                        Bassell has engaged in a
                                                                                        scheme to steal ICD’s
                                                                                        business.”




                                                                      10
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 12 of 48


RELATED CIVIL CASE NO. 15
Court / Case No. / Judge
                                 Parties                  Claims Asserted                         Allegations                      Status
     / Filing Date
                                                                                                                          No service of process.
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 30:
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with
                           Health Option One,   COUNT II                                others, including Corey Shader,
No. CACE-20-006874         LLC                  Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                        Joy Stormont, Infinix Media
Hon. William W. Haury,     Barbara Baca         COUNT III                               LLC, Prodigy Health Group
Jr.                                             Permanent Injunctive Relief (under      LLC, National Health
                           (ALLEGED             FUTSA)                                  Solutions, Inc., Alliance
Filed: April 22, 2020      FORMER ICD           COUNT IV                                Marketing Corporation, Kratos
                           AGENT)               Misappropriation of Trade Secrets –     Investments LLC, Health Team
Complaint and docket                            Disgorgement                            One LLC, Complete Vital Care
attached as EXHIBITS                            COUNT V                                 LLC, Vital Care One LLC,
[O-1 and O-2]                                   Tortious Interference with Other        Health Essential Care LLC, and
                                                Agents’ Agent Agreements                Richard Ryscik and the
                                                COUNT VI                                following agents James Hardill,
                                                Unjust Enrichment – Constructive        Bradley Tierney, Francis
                                                Trust (Trade Secrets)                   Desola, Alex Geissler, Adam
                                                                                        Bassell, Harry Slater, and Ryan
                                                                                        Kelty, Defendant Baca has
                                                                                        engaged in a scheme to steal
                                                                                        ICD’s business.”




                                                                      11
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 13 of 48


RELATED CIVIL CASE NO. 16
Court / Case No. / Judge
                                 Parties                  Claims Asserted                         Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 28:                     On October 6, 2020,
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with          plaintiffs filed a Notice of
                           Health Option One,   COUNT II                                others, including Corey Shader,   Voluntary Dismissal
No. CACE-20-006865         LLC                  Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,       Without Prejudice.
                           v.                   Agent Agreement)                        Joy Stormont, Infinix Media
Hon. Carlos Augusto        Harry Slater         COUNT III                               LLC, Prodigy Health Group
Rodriguez                                       Permanent Injunctive Relief (under      LLC, National Health
                           (ALLEGED             FUTSA)                                  Solutions, Inc., Alliance
Filed: April 22, 2020      FORMER ICD           COUNT IV                                Marketing Corporation, Kratos
                           AGENT)               Misappropriation of Trade Secrets –     Investments LLC, Health Team
Complaint and docket                            Disgorgement                            One LLC, Complete Vital Care
attached as EXHIBITS                            COUNT V                                 LLC, Vital Care One LLC,
[P-1 and P-2]                                   Tortious Interference with Other        Health Essential Care LLC, and
                                                Agents’ Agent Agreements                Richard Ryscik and the
                                                COUNT VI                                following agents Alex Geissler,
                                                Unjust Enrichment – Constructive        Bradley Tierney, Adam Bassell,
                                                Trust (Trade Secrets)                   Francis Desola, Barbara Baca,
                                                                                        Ryan Kelty, and James Hardill,
                                                                                        Defendant Slater has engaged
                                                                                        in a scheme to steal ICD’s
                                                                                        business.”




                                                                      12
              Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 14 of 48


RELATED CIVIL CASE NO. 17
                                                    Counterclaims Alleged by ABS
                                                    Healthcare Services, LLC and
Court / Case No. / Judge
                                  Parties          Health Option One, LLC, Against      Counterclaim Allegations                   Status
     / Filing Date
                                                  Beeman’s Future Inc. and C Shader
                                                          Investments LLC
Broward County Circuit     Empire Health          COUNT II                            ABS/HOO Counterclaim               Pending
Court                      Consultants LLC;       Civil Conspiracy                    Paragraph 1:
                           Beeman’s Future                                            “This action arises from
No. CACE-21-002328         Inc.; Raven One        COUNT III                           Counter-defendants’
                           Investments, LLC;      Aiding and Abetting                 perpetration of a scheme to
Chief Judge Jack Tuter     Imperial Health                                            illicitly compete against ICD,
                           Group Limited          COUNT IV                            including by setting up and
Filed: February 3, 2021    Liability Company;     Permanent Injunction                operating illegally-licensed
                           Prodigy Health                                             insurance agencies. As part of
ABS/HOO April 8, 2021      Insurance Associates                                       this deceptive and fraudulent
counterclaim and case      LLC; C Shader                                              scheme, Counter-defendants
docket attached as         Investments LLC;                                           arranged for insurance
EXHIBIT [Q-1 and Q-2]      Jamie Ryscik; Adrian                                       agencies to apply and receive
                           Raventos; Albert                                           licenses from the State of
                           Milano; and Robert                                         Florida under the guise that the
                           Chamagua-Struogo                                           agencies were owned and
                           v.                                                         operated by persons lawfully
                           ABS Healthcare                                             entitled to own and operate
                           Services, LLC;                                             them. In truth, the licensed
                           Health Option One,                                         agencies are owned and
                           LLC; Ocean                                                 controlled by a felon who has
                           Consulting Group,                                          been found guilty of trafficking
                           Inc.; Seth Cohen;                                          in opioids and who is legally
                           Arnold Cohen; and                                          barred from owning or
                           Robert Hodes                                               operating a licensed insurance
                                                                                      agency.”




                                                                         13
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 15 of 48




                        Exhibit 1A
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 16 of 48




                            AMERICAN ARBITRATION ASSOCIATION
                                COMMERCIAL ARBITRATION
                                       Case Number:

    ABS Healthcare Services, LLC and
    Health Option One, LLC,

           Claimants,
    v.

    Andrew Shader, an individual, Corey
    Shader, an individual, National
    Health Solutions, Inc., Infinix Media LLC,
    Prodigy Health Group LLC,
    Adam Beeman, an individual,
    Joy Stormont, an individual, and
    Alliance Marketing Corporation,

          Respondents
    _______________________________/

                          CLAIMANTS’ DEMAND FOR ARBITRATION

           Claimants ABS Healthcare Services LLC and Health Option One, LLC, both doing

    business as Insurance Care Direct (collectively, “ICD”), hereby demand arbitration pursuant to

    Broward Circuit Court Judge Tuter’s May 4, 2021, Order compelling the parties to arbitration and

    finding that the compelling order is made “without prejudice to the arbitrator to make

    determinations as to which claims are arbitrable based on a more detailed factual presentation by

    the Parties as to why some of the claims may not be related to the arbitration clause in the Agent

    Agreements” (Attached as Exhibit A) with Respondents Andrew Shader and Corey Shader

    (collectively, “Shaders”), National Health Solutions, Inc. (“NHS”), Infinix Media LLC (“Infinix”),

    Prodigy Healthy Group LLC (“Prodigy”), Adam Beeman (“Beeman”), Joy Stormont

    (“Stormont”), and Alliance Marketing Corporation (“Alliance”) (collectively “Respondents”).




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Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 17 of 48




    Claimants allege as to Claimants’ own acts and status and upon information and belief as to all

    other matters as follows:

                                           INTRODUCTION

           1.      This case is about greed and deception. Starting in 2013, ICD and the Shaders,

    including through the Shaders’ company NHS and related entities, had a contractual relationship

    that generated significant financial returns for the Shaders. ICD would use proprietary knowledge,

    practices, and relationships built up over nearly two decades in the insurance industry to provide

    access to tailored insurance plans and limited benefit products, marketing infrastructure, training

    and support, while the Shaders, through their company NHS and related entities, would market

    those products in exchange for lucrative marketing frees on the products and policies sold.

           2.      To protect the business relationships and proprietary practices and knowledge that

    it had spent years building, ICD required that the agents and agencies that market its products do

    so exclusively, and that they agree to certain protective provisions including reasonable non-

    competition, non-disclosure, and non-solicitation provisions. The Shaders and their companies

    were subject to agreements containing these provisions.

           3.      Not wanting to sit out for the time required by their agreements with ICD or put in

    the work to build a competing business honestly, the Shaders decided instead to surreptitiously

    breach their agreements with ICD. No later than 2017—while still under their contracts with

    ICD—the Shaders, along with their associates, began to conspire and set up various sham,

    competing enterprises to copy ICD’s business model, utilizing the proprietary information that

    they had gained access to while working with ICD. The Shaders, their associates, and their sham

    entities also solicited and induced other exclusive agents of ICD to breach their individual

    agreements with ICD.




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Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 18 of 48




           4.      The Shaders and the shifting web of sham, competing entities that they and their

    associates have created have injured ICD’s business. In addition to interfering with ICD’s

    contractual relationships with its exclusive agents and targeting the same customers in the same

    market, the Shaders and their sham entities have used proprietary information gained from ICD

    and interfered with ICD’s relationships with numerous entities, including insurance carriers,

    insurance associations, and sales lead providers.

           5.      ICD filed a lawsuit in state court to halt the Shaders’ damaging and ongoing

    misconduct. That suit, in Broward County, was subsequently compelled to arbitration, leading to

    this demand.

                                              THE PARTIES

           6.      This is an action for damages in excess of $30 million dollars, exclusive of interest,

    costs, and attorneys’ fees.

           7.      Claimant ABS Healthcare Services, LLC is a Florida business headquartered in

    Deerfield Beach, Florida, and operates as a licensed virtual insurance agency providing consumers

    access to benefit products.

           8.      Claimant Health Option One, LLC is a Florida business headquartered in Deerfield

    Beach, Florida, and acts as a licensed general insurance agency that provides marketing and

    compliance support and access to products including, but not limited to, limited medical, short

    term medical, term life, final expense, accidental death, critical illness, dental and discount medical

    coverage and services such as telehealth access to sub-agencies.

           9.      Claimants ABS Healthcare Services, LLC and Health Option One, LLC do

    business under the name Insurance Care Direct, or “ICD.”




                                                        3
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 19 of 48




             10.   Respondent Andrew Shader is a resident of Broward County, Florida and is sui

    juris.

             11.   Respondent Corey Shader is a resident of Broward County, Florida and is sui juris.

             12.   Respondent NHS is a Florida corporation doing business in Florida and

    headquartered at 2425 E. Commercial Blvd., Suite 300, Fort Lauderdale, FL 33308.

             13.   Respondent Infinix is a Florida corporation doing business in Florida and

    headquartered at 2425 E. Commercial Blvd. Suite 300, Fort Lauderdale, Florida 33308.

             14.   Respondent Prodigy is a Florida corporation doing business in Florida and

    headquartered at 551 NW 26th Street, Pompano Beach, Florida 33064.

             15.   Respondent Adam Beeman is a resident of Broward County and is affiliated with

    Prodigy Health Group LLC and is sui juris.

             16.   Respondent Joy Stormont is a resident of Palm Beach County and an owner of

    Prodigy Health Group LLC and is sui juris.

             17.   Respondent Alliance is a Florida corporation doing business in Florida and

    headquartered at 2425 E. Commercial Blvd., Suite 101, Fort Lauderdale, FL 33308, and is

    affiliated with Respondent NHS and is owned by Respondents Corey Shader and Andrew Shader.

                                            JURISDICTION

             18.   ICD initially sought to adjudicate its dispute with Andrew and Corey Shader, NHS,

    Infinix, Prodigy, Beeman, Stormont, and Alliance at the Broward County Circuit Court. On May

    4, 2021, the Broward County Circuit Court granted those Respondents’ attempt to compel

    arbitration. A copy of that order is attached as Exhibit A.

             19.   The Broward County Circuit Court’s order compelling arbitration was made

    “without prejudice to the arbitrator to make determinations as to which claims are arbitrable based




                                                     4
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 20 of 48




    on a more detailed factual presentation by the Parties as to why some of the claims may not be

    related to the arbitration clause of the Agent Agreements.”

            20.     On June 17, 2021, Andrew Shader, Corey Shader, and NHS filed their own demand

    for arbitration against ICD. That demand does not include all of the parties ordered to arbitrate by

    the Broward County Circuit Court and seeks affirmative relief that was not presented in the

    Broward action. The instant demand contains all of the parties ordered to arbitrate and the claims

    that were directed to arbitration along with additional claims relating to the parties compelled to

    arbitration.1

                                      FACTUAL ALLEGATIONS

            A.      ICD’s Business

            21.     ICD is a family-owned business established in 2001, which has grown into one of

    the nation’s largest health and life insurance agencies.

            22.     Among other things, ICD offers insurance plans and tailored memberships that

    include health benefits, products, and services (“ICD Plans”) to individuals. The ICD Plans

    include insurance underwritten by a diverse group of benefit companies and insurance carriers.

            23.     Individuals become insureds under the ICD Plans by becoming members of the

    association or other group to which a master group insurance policy has been issued by the

    insurance carrier. Association membership also provides access to benefit services such as

    telehealth.




    1
           ICD also asserts claims centered on prior agreements (defined below) with Andrew and
    Corey Shader and NHS. Those agreements include arbitration clauses. November 2013
    Independent Agent Agreement § XIV(B); November 2013 Independent Marketer Agreement §
    XIV(B); March 2014 Independent Agent Agreement § XIV(B); March 2014 NHS Independent
    Agent Agreement § XIV(B); March 2014 NHS Independent Marketer Agreement § XIV(B).


                                                     5
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 21 of 48




           24.     To market and sell ICD Plans, ICD enters into contracts with, among others,

    insurance agencies and insurance agents.

           25.     ICD identifies prospective customers by purchasing “leads” from third parties or

    by acquiring “leads” through a subsidiary. These leads consist of the names of individuals who

    have expressed a desire to obtain health insurance or benefits through insurance plans such as the

    ICD Plans.

           26.     ICD markets to these prospective customers through insurance agencies with which

    it contracts. The insurance agencies are licensed under the laws of the applicable states, including

    Florida. The insurance agencies operate call centers which place calls to the prospective customers

    identified in the leads provided by ICD and market the ICD Plans to them.

           27.     The individuals who staff the call centers and actually make the sales calls to

    prospective customers are insurance agents licensed under the laws of the applicable states,

    including Florida. The agents list their licenses under the insurance agencies that have contracted

    with ICD.

           28.     ICD’s agreements with the agents (the “ICD Exclusive Agent Agreements” or

    “Agent Contracts”) contain non-compete provisions and provisions protecting confidential

    information, including trade secrets. The agents with whom Respondents have conspired, as set

    forth below, include: Barbara Baca, James Hardill, Bradley Tierney, Francis DeSola, Alex

    Geissler, Adam Bassell, Harry Slater, and Ryan Kelty (the “Unfaithful Agents”).

           B.      The Shaders and NHS Have a Long-Standing Relationship with ICD

           29.     NHS is an insurance agency. It is owned by Andrew Shader, who is also its

    president and CEO. His brother, Corey Shader is also a principal of NHS. NHS’s business is to

    market insurance plans.




                                                     6
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 22 of 48




           30.       The Shaders, including by and through NHS, had a long-standing contractual

    relationship with ICD. Throughout the years, the Shaders and NHS entered into a series of

    marketing and agent agreements with ICD, including:

                    The November 25, 2013, Independent Agent or Agency of Record Agreement (the

                     “November 2013 Independent Agent Agreement”) between Andrew Shader and

                     HOO, attached hereto as Exhibit B;

                    The December 15, 2013, Addendum to Independent Agent or Record Agreement

                     (the “November 2013 Agent Agreement Addendum”) between Andrew Shader and

                     HOO, attached hereto as Exhibit C;

                    The November 25, 2013, Independent Marketer Agreement (the “November 2013

                     Independent Marketer Agreement”) between Andrew Shader and ABS, attached

                     hereto as Exhibit D;

                    The March 12, 2014, Independent Agent or Agency of Record Agreement (the

                     “March 2014 Independent Agent Agreement”) between Andrew Shader and HOO,

                     attached hereto as Exhibit E;

                    The March 12, 2014, Independent Agent or Agency of Record Agreement (the

                     “March 2014 NHS Independent Agent Agreement”) between NHS and HOO,

                     attached hereto as Exhibit F;

                    The March 12, 2014, Independent Marketer Agreement (the “March 2014 NHS

                     Independent Marketer Agreement”) between NHS and ABS, attached hereto as

                     Exhibit G; and




                                                     7
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 23 of 48




                    The November 13, 2015, Addendum to Independent Agent of Record Agreement

                     (the “November 2015 Independent Agent Agreement Addendum”) between

                     Andrew Shader and HOO, attached hereto as Exhibit H.

           31.       Collectively, the seven agreements immediately listed above governed the Shaders’

    and NHS’ relationship with ICD. For brevity, the seven agreements immediately listed above are

    referred to throughout as the “Pre-2019 Agreements.”2

           32.       The Pre-2019 Agreements defined how the Shaders and NHS would exclusively

    market and sell ICD Plans and use and safeguard ICD’s confidential and trade secret materials.

    For example, the November 2015 Independent Agent Agreement Addendum executed by Andrew

    Shader contains numerous and specific exclusivity provisions and other provisions, as described

    below, to ensure that the Shaders and their companies would not sell competing products and

    would not create shell companies to hide their competition. Yet, as explained below, that is exactly

    what the Shaders did.

           33.       The November 2015 Independent Agent Agreement Addendum provides in

    paragraph 4 that the marketer’s agency shall sell exclusively for ICD as follows:

                     “In consideration of HOO funding Market’s agency licenses in
                     various states, the Marketer agrees to sell, offer for sale, obtain leads
                     for sale to, contact and/or attempt to contact potential insureds for
                     health insurance, and Sickness and Accident Membership Plans,
                     Limited Medical Plans and/or association products exclusively on
                     behalf of HOO and/or any company affiliated with HOO and shall
                     not sell for any other individual or entity in accordance with the
                     provisions of the Agreement and this Addendum.”



    2
            The Pre-2019 Agreements contain substantially similar language, often verbatim. For ease
    of reference, quotations will be to the November 2013 Independent Agent Agreement. Parallel
    citations to the relevant provisions of the other agreements will be provided in footnotes where
    applicable.


                                                        8
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 24 of 48




           34.     The November 2015 Independent Agent Agreement Addendum also made clear

    that the parties could not create shell companies to bypass the exclusivity restrictions and compete

    with ICD as set forth in paragraph 7:

                   “The Parties mutually agree not to circumvent, avoid, bypass or
                   obviate each other, directly or indirectly, to avoid payments of fees,
                   commissions or other forms of compensation, by transacting any
                   business with any individual and/or transacting any business with or
                   creating any corporation, partnership or fictitious name.”

           35.     The November 2015 Independent Agent Agreement Addendum also included a

    restriction on competition against ICD for a period of twenty-four months following the

    termination of the affiliation with the Marketer as follows:

                   “The Marketer agrees that it nor its officers, directors, related
                   employees and/or agents shall compete with the known business of
                   HOO or its affiliated companies during the term of this
                   Agreement. Marketer further understands and agrees that the
                   relationship between HOO and any affiliated and/or related
                   company and its customers, employees and marketers are unique
                   and agrees to not contact any HOO customer or any and all affiliated
                   company’s customers, employee and /or marketer for commercial
                   purposes other than on behalf of HOO or any affiliated and/or
                   related company for a period of twenty-four (24) months from the
                   date of termination of HOO’s affiliation with Marketer.”

           36.     The November 2015 Independent Agent Agreement Addendum also provided that

    the Marketer would forfeit all commissions and its book of business if it violated the parties’

    agreement in paragraph 9 as follows:

                   “The Parties agree that any breach of this Addendum shall
                   automatically be determined to be a material breach of this
                   Addendum and the Agreement. As a result of such breach, this
                   Addendum and the Agreement shall both be immediately terminated
                   for cause and without notice. The Parties agree that a portion of the
                   damages for such breach shall be immediately due as follows: (a)
                   Marketer shall forfeit all outstanding commission payments due and
                   owned to Marketer by HOO and (b) Marketer’s book of business



                                                     9
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 25 of 48




                   shall immediately revert to HOO. Marketer agrees it shall execute
                   all documents necessary to immediately transfer said book of
                   business to HOO. HOO reserves all legal rights to pursue any
                   further remedies and damages against Marketer, in accordance with
                   Jurisdiction and Venue clauses of the Agreement.”

           37.     In addition, the Pre-2019 Agreements defined ICD’s confidential information, and

    provided, among other things, that such “material shall be used exclusively in the performance of

    this Agreement and may not be used or distributed for any other purpose.” November 2013

    Independent Agent Agreement § IX(H).3 Confidential information included, among other things,

    customer information, business plans and processes, customer lists, products, and intellectual

    property. Id. § XI.4 Use of confidential information was limited to “only for the purpose for which

    it was disclosed and only to carry out the provisions of this Agreement” and confidential

    information was not to be disclosed to third parties. Id. § XI(C).5

           38.     The Pre-2019 Agreements also contained robust non-solicitation clauses. The

    Shaders and NHS could not “induce or attempt to induce any . . . licensed agents . . . or agents of

    record to discontinue their association” with ICD. Id. § XII.6 The non-solicitation clauses also



    3
           See also November 2013 Independent Marketer Agreement § IX(H); March 2014
    Independent Agent Agreement § IX(H); March 2014 NHS Independent Agent Agreement § IX(H);
    March 2014 NHS Independent Marketer Agreement § IX(H).
    4
           See also November 2013 Independent Marketer Agreement § XI; March 2014 Independent
    Agent Agreement § XI; March 2014 NHS Independent Agent Agreement § XI; March 2014 NHS
    Independent Marketer Agreement § XI.
    5
           See also November 2013 Independent Marketer Agreement § XI(C); March 2014
    Independent Agent Agreement § XI(C); March 2014 NHS Independent Agent Agreement § XI(C);
    March 2014 NHS Independent Marketer Agreement § XI(C).
    6
          See also November 2013 Independent Marketer Agreement § XII (“INDEPENDENT
    MARKETER shall not induce or attempt to induce any customers, employees, licensed
    INDEPENDENT MARKETERs, representatives, agencies of record and/ or any INDEPENDENT
    MARKETERs of record to discontinue their association with ABS.”); March 2014 Independent
    Agent Agreement § XII (“AGENT OR AGENCY OF RECORD shall not induce or attempt to


                                                    10
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 26 of 48




    provided that the Shaders and NHS could not “induce or attempt to induce any . . . customers . . .

    to discontinue their association” with ICD. Id.

            39.     Moreover, the November 2013 Independent Agent Agreement contains Mutual

    Non-Disclosure Agreements that prohibited the Shaders and NHS from using ICD’s confidential

    information for “their commercial gain in competition with” ICD. Id. at pg. 6-7.

            40.     The Pre-2019 Agreements also imposed a duty upon the Shaders and NHS to notify

    ICD “if any licensed agent, employee, associate, officer, director, principal or other representative

    of its business has been convicted of any felony,” “misdemeanor,” or “lesser crime involving moral

    turpitude . . .” Id. § IX(I).7

            41.     In 2019, ICD, the Shaders, and NHS entered into the Agreement for Payment of

    Fees, Compensation, and Residuals on January 19, 2019 (referred to throughout as “The 2019

    Agreement”), attached hereto as Exhibit I. Pursuant to the Agreement, NHS was required to

    exclusively market the ICD Plans.

            42.     ICD negotiated the 2019 Agreement with the Shaders and NHS because the Shaders

    fraudulently represented that they wanted to get out of the insurance business, and the 2019

    Agreement would govern as they transitioned out of the business. Instead, that was a ruse, as the




    induce any benefit providers, carriers, customers, employees, licensed agents, representatives,
    agencies of record and/ or any agents of record to discontinue their association with HOO.”);
    March 2014 NHS Independent Agent Agreement § XII(A); March 2014 NHS Independent
    Marketer Agreement § XII (“INDEPENDENT MARKETER shall not induce or attempt to induce
    any customers, employees, licensed INDEPENDENT MARKETERs, representatives, agencies of
    record and/ or any INDEPENDENT MARKETERs of record to discontinue their association with
    ABS.”).
    7
           See also November 2013 Independent Marketer Agreement § IX(I); March 2014
    Independent Agent Agreement § IX(I); March 2014 NHS Independent Agent Agreement § IX(I);
    March 2014 NHS Independent Marketer Agreement § IX(I).


                                                      11
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 27 of 48




    Shaders were already secretly working to establish businesses that would compete illegally with

    ICD.

           43.     The Shaders and NHS represented that they needed the new agreement because

    while they intended to exit the business and not go after new customers, they wanted to still be

    able to sell certain ancillary products to existing customers.

           44.     Section 5 of the 2019 Agreement provides in relevant part that the Shaders and

    NHS cannot solicit an actual or prospective customer of ICD or solicit independent marketers

    producing significant sales for ICD:

                   “Non-Competition, Non-Solicitation. For the period commencing
                   on the Effective Date and ending three (3) years thereafter, none of
                   the NHS Parties will knowingly, (a) encourage any person known
                   by them to be a then current active customer or member, or known
                   by them to be a then prospective customer or member in current and
                   active negotiation for a Membership Plan (collectively, “Members”)
                   with the ICD Parties, that such Member should change to the health
                   insurance program or health products or services of a company other
                   than those provided by the ICD Parties or their current carriers or
                   discount plans, or (b) solicit or contract with any independent
                   marketer known by them to be then currently producing significant
                   sales for either of the ICD Parties, or any known significant
                   competitor of ABS or HOO, in a field which directly and materially
                   then competes with the ICD parties.”

           45.     Section 5 of the 2019 Agreement also provides in relevant part that Infinix’s ability

    to sell healthcare leads is limited as follows:

                   “This paragraph (5) does not apply to independent marketers or
                   agents used by either of the ICD parties in connection with Medicare
                   products, including, but not limited to, “Medicare advantage” or
                   Medicare supplements. It is agreed by the Parties that this
                   Agreement does not apply to Infinix Media, Inc. (“Infinix”) or to its
                   business activities, with the exception of the provisions of this
                   Section 5 solely with respect to the sale of healthcare plans (the
                   “Plan Exception”). The Plan Exception will terminate and no longer
                   be applicable to Infinix upon the sale of a majority or controlling
                   interest of its ownership.”




                                                      12
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 28 of 48




           46.     The 2019 Agreement was amended on January 29, 2019, to add the following

    provision with respect to Section 5:

                   Notwithstanding any language to the contrary in the “Agreement for
                   Payment of Fees, Compensation, and Residuals", ("Agreement")
                   (executed by the NHS Parties on January 19, 2019), the ICD Parties
                   now agree that the NHS Parties, and their affiliated Alliance
                   Marketing Corp, may only offer, sell and bill for Wellness, Lab and
                   Dental plans through downlines/agents identified in "Exhibit C" to
                   the Agreement. The NHS parties have been made aware that such
                   downline/agents should first offer and sell ICD Party core and add-
                   on products prior to offering any other product. This paragraph shall
                   take precedence over any contrary or conflicting terms set forth in
                   the Agreement.

           47.     As a result of the amendment, the Shaders, NHS, and their affiliated network were

    permitted to market other insurance plans, but only after first offering and selling ICD core and

    add-on products.

           48.     Section 7 of the 2019 Agreement also imposed duties to maintain the confidentiality

    of information obtained through their business relationship:

                   “Confidentiality. Each of the Parties agrees that all proprietary or
                   confidential information (including without limitation, the existence
                   and terms of this Agreement and the identities of an information
                   pertaining to customers or members of the Parties or any of their
                   carriers or product providers) communicated to them by the other
                   Parties will be held in strict confidence and not shared, disclosed, or
                   used for any purpose not specifically allowed in this Agreement or
                   required by law.”

           49.     The 2019 Agreement references the 2013 Independent Agent Agreement, the 2013

    Independent Marketer Agreement, the 2014 NHS Independent Agent Agreement, and the 2014

    NHS Independent Marketer Agreement.




                                                     13
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 29 of 48




           C.      Respondents’ Breach of Contract and Unlawful Acts

           50.     Beginning no later than 2017, the Respondents developed a scheme to set up

    businesses—often run in part by Respondent Adam Beeman—that would impermissibly compete

    with ICD.

           51.     At all times relevant hereto, Andrew Shader and Corey Shader created and funded

    Respondent Prodigy (a call center for health insurance sales) and Kratos (an insurance agency)

    with Beeman’s assistance. The Shaders further supported these entities through other means,

    including by providing sales leads through Respondent Infinix, a company owned and controlled

    by the Shaders that provides health insurance leads.

           52.     Andrew Shader and Corey Shader fund, own, and control Prodigy, which was

    designed to directly compete with ICD’s insurance and benefits business in violation of the

    Shaders’ contracts with ICD.

           53.     Stormont serves as a figurehead for Prodigy, purporting to run the company as to

    hide its true ownership and Beeman’s involvement. Stormont is Beeman’s mother, and has

    allowed Beeman to hide from scrutiny. Text messages show that Stormont is paid $350 “weekly

    every Friday” for her role as the front person for Prodigy. Having no industry experience, she

    obtained insurance licensure for the sole purpose of allowing her son, Beeman, to commit

    insurance fraud.

           54.     Andrew and Corey Shader were also instrumental in the organization and funding

    of a California operation set up to illegally compete with ICD. The California operation was

    fronted by ICD agent Brad Tierney and was conducted through Maxim Health, Inc. from late 2017

    until the first half of 2019. In 2019, Maxim’s business was transferred to a new entity, Legacy

    Insurance Solutions, LLC.




                                                   14
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 30 of 48




           55.        Respondents used Prodigy, Kratos, Maxim/Legacy, Alliance, and Infinix

    surreptitiously and in violation of the Pre-2019 Agreements and the 2019 Agreement to illicitly

    compete with ICD and steal ICD’s proprietary trade secrets, business model, business

    relationships, agents and customer base. Respondents have funded or otherwise supported other

    companies for a similar purpose and have provided financial incentives, including access to

    valuable leads, to agents to induce them to breach their contracts with ICD.

           56.        Working in concert, Respondents have engaged in, and continue to engage in, a

    scheme to steal ICD’s business. To carry out the scheme, Respondents have conspired, and

    continue to conspire, to steal ICD’s business by, among other things, setting up sham, competing

    entities, interfering with the ICD Exclusive Agent Agreements, illicitly soliciting ICD’s customers

    and prospective customers, improperly interfering with ICD’s business relationships with call

    centers, insurance carriers, lead generators, and administrators and misappropriating ICD’s

    confidential information and trade secrets.

           57.        For example, Richard Ryscik, a sprinkler salesman with no industry-related

    experience, is the purported president of Kratos, a licensed 21-05 Florida insurance agency.

           58.        In reality, Ryscik is a façade and does not make business decisions for Kratos;

    rather, his role is to hide the involvement of his childhood friend: Respondent Adam Beeman.

    Beeman is a convicted felon for trafficking in opioids. Because of his felon status, Beeman, and

    the businesses he owns and/or operates, cannot obtain appropriate licensure to operate legally. To

    get around that setback, and to hide their plot from ICD, the Shaders worked with Beeman to

    orchestrate a scheme whereby Ryscik was labeled as the purported owner and principal of Kratos,

    and its affiliated companies: Health Team One, Complete Vital Care, Vital Care One, and Health

    Essential Care.




                                                     15
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 31 of 48




           59.     Neither the Shaders nor NHS—or anyone else—ever informed ICD of their work

    and association with Beeman and Ryscik.

           60.     To steal ICD’s business, Andrew Shader, Corey Shader, and NHS—who were

    violating their own agreements with ICD—conspired with Kratos to engage numerous Unfaithful

    Agents who have ICD Exclusive Agent Agreements and to knowingly solicit and induce such

    Unfaithful Agents to violate and breach their contractual and fiduciary obligations to ICD. Those

    agents include Barbara Baca, James Hardill, Bradley Tierney, Francis Desola, Alex Geissler,

    Adam Bassell, Harry Slater, and Ryan Kelty. (A copy of each of their ICD Exclusive Agent

    Agreements is attached hereto as Exhibit J.)

           61.     Respondents have interfered, and continue to improperly interfere, with ICD’s

    relationships with call centers, including by soliciting and inducing the Unfaithful Agents to breach

    their contractual and fiduciary obligations to ICD, improperly recruiting agents away from call

    centers, improperly inducing individuals who ran and/or operated ICD exclusive call centers to

    open and operate call centers associated with Respondents instead of fulfilling their obligation to

    operate ICD call centers, and otherwise.

           62.     Respondents, including by and through a conspiracy with the Unfaithful Agents,

    have improperly used, and continue to improperly use, ICD’s confidential information and trade

    secrets, including customer names and marketing leads, to solicit and sell non-ICD Plans and

    insurance products to ICD’s actual and prospective customers, in violation of ICD’s Exclusive

    Agent Agreements.

           63.     Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with insurance carriers, including by illicitly establishing sham,




                                                     16
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 32 of 48




    competing entities, preventing ICD and its affiliates from maintaining valuable exclusive

    relationships with those carriers.

             64.     Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with lead generation companies, including by illicitly establishing

    sham, competing entities, improperly diverting leads from ICD and its affiliates, and otherwise.

             65.     Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with administrators, including by improperly entering into

    relationships with those administrators to the detriment of ICD’s relationships with those

    administrators and by otherwise engaging in improper conduct that harmed ICD’s relationships

    with those administrators.

             D.      Clear Evidence of Respondents’ Scheme to Illicitly Compete and Harm ICD

             66.     Respondents’ scheme to harm ICD is documented in a plethora of text messages

    that Corey Shader and Beeman, among others, had with a former associate, Christopher “Brett”

    Mason.

             67.     Mason worked with Respondents to set up companies to illicitly compete with ICD.

    Tragically, Mason, a recovering addict, relapsed, overdosed, and died, due in part to the immense

    pressure he experienced in executing Respondents’ surreptitious scheme.

             68.     The text messages recovered from Mason’s phone demonstrate the goal of

    Respondents’ scheme: to rid themselves of their obligations to ICD and make as much money as

    possible in the process, all by stealing ICD’s proprietary trade secrets, business model, and

    customer base.

             69.     On November 18, 2018, while under contract with ICD, Corey Shader wrote in a

    text message that his brother “Andrew wants to take a year off and come back Cohen free,”




                                                     17
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 33 of 48




    referring to Seth Cohen, one of ICD’s founders. But Corey Shader then wrote “we can’t stop for

    a year” because there was “Too much market share to lose.”

           70.    The text messages present an illuminating account of Respondents’ thoughts and

    impressions during their elaborate scheme. For example, the messages show how Beeman, among

    others, sought to hide the creation of competing companies, seeking to mask their existence until

    Respondents’ non-competes and other obligations to ICD had expired.8

           71.    Respondents even resorted to using fake names and other aliases to hide their

    scheme. Beeman, for example, went as far as to adopt Ryscik’s persona and falsely claim to be

    Ryscik during the course of business.9

           72.    Additionally, Respondents and the Unfaithful Agents texted about how they would

    pay certain sham license holders for use of their names and licenses.10 The messages also detail




    8
            For example, on March 12, 2019, Beeman texted Mason and they had the following
    exchange: Beeman: “The Courier only [knows] your name right?” Mason: “No. She knows the
    name of the company.” Beeman: “God. Get another courier.” Mason: “Why is that a problem?”
    Beeman: “Cause it is.” Also, on October 1, 2019, Beeman instructed Ryan Kelty, an ICD Agent,
    that “When answering custo calls. We answer ‘Customer Service’ not the name of the company.
    Fix this not [sic] please.” Additionally, on March 26, 2019, Beeman asked that his mother’s name,
    Stormont, be used on communications to hide his involvement in the scheme, writing Mason to
    ask that he “Send me an email from joy saying your very disappointed in the process so far blah
    blah maybe HII would have been a better choice something along those lines bitching about no
    core product.”
    9
            For example, on March 6, 2019, Beeman texted Kelty and Mason that “I’m Richard
    [Ryscik] btw” to which Kelty replied “Do we have to [be] different people as well?” Beeman
    replied “Naw.”
    10
            For example, on July 24, 2019, Beeman wrote to Kelty and Mason: “U guys want a female
    lic[ense] that will always be there for 400$ a month. Doing a friend in prison a favor. My boy
    Enzos chick. It’s a lock and u can buy all the states and not worry.” Also, on August 8, 2019,
    Beeman wrote “Just emailed u Ryan with the chick issabel with will be the license ur gonna use”
    and “We are gonna send her 55$ ASAP for passing as a bonus. And 400$ monthly.” “So do 500
    and then direct deposit 400$ a month I’m sure she will claim whatever to get the most.”


                                                   18
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 34 of 48




    how Respondents facilitated the scheme to steal ICD’s business by, among other things, funding

    the scheme and providing other financial and material support.

            73.       Although Respondents took great pains to hide their scheme, their habit of texting

    about it left an irrefutable trail.

            E.        Respondents’ Conduct Has Caused ICD Extensive Harm

            74.       As a direct result of Respondents’ acts, ICD has experienced, and is continuing to

    experience, a substantial reduction in business, amounting to tens of millions of dollars in lost

    business.

                                                COUNT I
                                 Breach of Contract – Pre-2019 Agreements
                               (Against Andrew Shader, Corey Shader, NHS)

            75.       ICD re-alleges the allegations set forth in paragraphs 1-74.

            76.       The Pre-2019 Agreements, as amended, are valid and binding contracts between

    the above-mentioned Respondents and ICD, supported by mutual consideration.

            77.       ICD has performed each and all of its obligations under the Pre-2019 Agreements.

            78.       All conditions precedent with respect to the bringing of this action for breach of the

    Pre-2019 Agreements have been performed, waived, or excused, so that there are no unperformed

    conditions precedent precluding this action.

            79.       The above Respondents have materially breached the Pre-2019 Agreements by,

    among other things:

                     Hiring a convicted felon (Beeman) to work for them without informing ICD as

                      required by the Pre-2019 Agreements (e.g., November 2013 Independent

                      Agreement Agreement § IX(I); November 2013 Independent Marketer Agreement

                      § IX(I); March 2014 Independent Agent Agreement § IX(I); March 2014 NHS




                                                       19
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 35 of 48




                Independent Agent Agreement § IX(I); March 2014 NHS Independent Marketer

                Agreement § IX(I));

               Soliciting ICD customers, members, or prospective customers to switch to, or sign

                up with, health insurance programs or health products or services other than those

                provided by ICD (e.g., November 2015 Independent Agent Agreement Addendum

                ¶¶ 4, 6, 7; November 2013 Agreement §§ IX(H), XII; November 2013 Independent

                Marketer Agreement §§ IX(H), XII; March 2014 Independent Agent Agreement §§

                IX(H), XII; March 2014 NHS Independent Agent Agreement § XII(A); March

                2014 NHS Independent Marketer Agreement §§ IX(H), XII));

               Selling products for Respondents’ competing business, including by conspiring

                with the Unfaithful Agents (e.g., November 2015 Independent Agent Agreement

                Addendum ¶¶ 4, 6, 7; November 2013 Agreement § XII; November 2013

                Independent Marketer Agreement § XII; March 2014 Independent Agent

                Agreement § XII; March 2014 NHS Independent Agent Agreement § XII(A);

                March 2014 NHS Independent Marketer Agreement § XII));

               Creating and utilizing Infinix to provide leads in direct violation of the Pre-2019

                Agreements (e.g., November 2015 Independent Agent Agreement Addendum ¶¶ 4,

                6, 7; November 2013 Agreement § XII; November 2013 Independent Marketer

                Agreement § XII; March 2014 Independent Agent Agreement § XII; March 2014

                NHS Independent Agent Agreement § XII; March 2014 NHS Independent

                Marketer Agreement § XII);

               Crafting and executing a plan to create, fund, and support Prodigy, Kratos, and

                Maxim/Legacy, among others, in order to steal ICD’s business model, agents and



                                                20
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 36 of 48




                     customer base and directly compete with ICD (e.g., November 2015 Independent

                     Agent Agreement Addendum ¶¶ 4, 6, 7; November 2013 Agreement § XII;

                     November 2013 Independent Marketer Agreement § XII; March 2014 Independent

                     Agent Agreement § XII; March 2014 NHS Independent Agent Agreement § XII;

                     March 2014 NHS Independent Marketer Agreement § XII); and

                    Misappropriating and misusing ICD’s confidential business and trade secret

                     information, including, but not limited to, information pertaining to ICD’s actual

                     and prospective customers and members (e.g., November 2015 Independent Agent

                     Agreement Addendum ¶¶ 4, 6, 7; November 2013 Independent Agent Agreement

                     §§ IX(H), XI(C); March 2014 Independent Agent Agreement §§ IX(H), X(C);

                     March 2014 NHS Independent Agent Agreement §§ IX(H), IX(C); March 2014

                     NHS Independent Marketer Agreement §§ IX(H), IX(C)).

           80.       ICD has been, and continues to be, damaged by these Respondents’ material

    breaches of the Pre-2019 Agreements, and Respondents have forfeited all outstanding commission

    payments and marketing fees.

                                           COUNT II
                               Breach of Contract – 2019 Agreement
                 (Against Andrew Shader, Corey Shader, NHS, Infinix, and Alliance)

           81.       ICD re-alleges the allegations set forth in paragraphs 1-74.

           82.       The 2019 Agreement, as amended, is a valid and binding contract between above

    Respondents and ICD, supported by mutual consideration.

           83.       ICD has performed each and all of its obligations under the 2019 Agreement.




                                                      21
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 37 of 48




           84.      All conditions precedent with respect to the bringing of this action for breach of the

    2019 Agreement have been performed, waived, or excused, so that there are no unperformed

    conditions precedent precluding this action.

           85.      In particular, ICD has provided written notice of breach to the above Respondents

    and has given these Respondents a reasonable opportunity to investigate and cure the breach, but

    Respondents have failed to do so.

           86.      The above Respondents have materially breached the 2019 Agreement by, among

    other things:

                 a. Soliciting ICD customers, members, or prospective customers to switch to, or sign

                    up with, health insurance programs or health products or services other than those

                    provided by ICD;

                 b. Selling products for Respondents’ competing business, including by conspiring

                    with the Unfaithful Agents;

                 c. Utilizing Infinix to provide leads in direct violation of the 2019 Agreement;

                 d. Creating,   funding,    and    supporting   Respondent      Prodigy,   Kratos,    and

                    Maxim/Legacy, among others, in order to steal ICD’s business model, agents and

                    customer base and directly compete with ICD; and

                 e. Misappropriating and misusing ICD’s confidential business and trade secret

                    information, including, but not limited to, information pertaining to ICD’s actual

                    and prospective customers and members.

           87.      ICD has been, and continues to be, damaged by these Respondents’ material

    breaches of the 2019 Agreement.




                                                     22
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 38 of 48




                                             COUNT III
                            Tortious Interference With Agent Agreements
                                      (Against All Respondents)

           88.     ICD re-alleges the allegations set forth in paragraphs 1-74.

           89.     ICD entered into valid contracts with the Unfaithful Agents.

           90.     These contracts, the ICD Exclusive Agent Agreements, include confidentiality,

    non-solicitation, and exclusivity provisions.

           91.     Respondents at all material times were aware of the existence and terms of the ICD

    Exclusive Agent Agreements.

           92.     Respondents, individually or in concert with co-conspirators, have improperly

    interfered, and continue to improperly interfere, with the ICD Exclusive Agent Agreements by

    soliciting and inducing or otherwise causing the Unfaithful Agents to violate and breach their

    contractual obligations and fiduciary obligations to ICD, including the exclusivity, non-solicitation

    and confidentiality provisions of the ICD Exclusive Agent Agreements.

           93.     Respondents’ actions were intentional and unjustified.

           94.     As a result of Respondents’ actions, the Unfaithful Agents breached the ICD

    Exclusive Agent Agreements, causing damage to ICD.

           95.     ICD has been and continues to be damaged as a result of Respondents’ tortious

    interference with the ICD Exclusive Agent Agreements.

           96.     Respondents’ tortious interference with ICD’s Exclusive Agent Agreements has

    caused ICD to suffer continuing irreparable harm for which it has no adequate remedy at law.

                                             COUNT IV
                          Tortious Interference with Business Relationships
                                      (Against All Respondents)

           97.     ICD re-alleges the allegations set forth in paragraphs 1-74.




                                                     23
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 39 of 48




           98.     ICD had business relationships with individuals that were members of the ICD

    Plans as a result of ICD’s marketing and related efforts.

           99.     ICD also had business relationships with call centers, insurance carriers, lead

    generators, and administrators.

           100.    Through the acquisition and development of the sales leads, ICD has a protectable

    business relationship with consumers identified in the leads, which constituted identifiable

    prospective customers of ICD who in all probability would have participated in an ICD Plan.

           101.    ICD has a legal right in these existing and prospective business relationships.

           102.    Respondents at all material times were aware of ICD’s current and prospective

    business relationships.

           103.    Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with actual and prospective customers by inducing or otherwise

    causing existing and prospective customers to not do business with ICD.

           104.    Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with call centers, including by soliciting and inducing the Unfaithful

    Agents to breach their contractual and fiduciary obligations to ICD, improperly recruiting agents

    away from call centers, improperly inducing individuals who ran and/or operated ICD exclusive

    call centers to open and operate call centers associated with Respondents instead of fulfilling their

    obligation to operate ICD call centers, and otherwise.

           105.    Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with insurance carriers, including by illicitly establishing sham,

    competing entities, preventing ICD and its affiliates from maintaining valuable exclusive

    relationships with those carriers, and otherwise.




                                                     24
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 40 of 48




           106.    Respondents have improperly interfered, and continue to improperly interfere, with

    ICD’s business relationships with administrators by entering into relationships with those

    administrators to the detriment of ICD’s relationships with those administrators and by otherwise

    engaging in improper conduct that harmed ICD’s relationships with those administrators.

           107.    Respondents’ actions were intentional and unjustified.

           108.    ICD has been and continues to be damaged as a result of Respondents’ tortious

    interference with its business relationships with actual and prospective customers, call centers,

    insurance carriers, and lead generators.

           109.    Respondents’ tortious interference with ICD’s business relationships has caused

    ICD to suffer continuing irreparable harm for which it has no adequate remedy at law.

                                            COUNT V
                                  Misappropriation of Trade Secrets
                                     (Against All Respondents)

           110.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           111.    Respondents had access to ICD’s trade secret information, including: business

    model and strategy, customer information, member information, sales information, internal

    business procedures and strategies (“Trade Secrets”).

           112.    The Trade Secrets were developed by ICD through substantial effort and expense.

           113.    ICD derives significant economic value from the Trade Secrets, which are not

    generally known to, and not readily ascertainable by, other persons who may be able to obtain

    economic value from their disclosure.

           114.    ICD has taken reasonable steps to maintain the secrecy and confidentiality of the

    Trade Secrets, including through agreements with third parties that prohibit disclosure and

    unauthorized use of the Trade Secrets.




                                                    25
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 41 of 48




           115.    Respondents at all material times have known of the existence of the Trade Secrets.

           116.    Respondents have misappropriated the Trade Secrets by and through improper

    means by, among other things, inducing the Unfaithful Agents to breach their duties and

    contractual obligations to maintain the secrecy of the Trade Secrets and using the Trade Secrets to

    solicit and poach ICD’s actual and prospective customers and entities having business

    relationships with ICD. Additionally, Respondents knew or had reason to know that the Trade

    Secrets were obtained by improper means. Respondents knew they were using this Trade Secret

    information without ICD’s permission.

           117.    Respondents’ misappropriation of the Trade Secrets has damaged (and continues

    to damage) ICD.

           118.    Respondents’ misappropriation of ICD’s Trade Secrets has caused ICD to suffer

    continuing irreparable harm for which it has no adequate remedy at law.

                                            COUNT VI
                             Conspiracy to Misappropriate Trade Secrets
                                     (Against All Respondents)

           119.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           120.    The Unfaithful Agents had access to ICD’s trade secret information, including:

    business model and strategy, customer information, member information, sales information,

    internal business procedures and strategies (“Trade Secrets”).

           121.    The Trade Secrets were developed by ICD through substantial effort and expense.

           122.    ICD derives significant economic value from the Trade Secrets, which are not

    generally known to, and not readily ascertainable by, other persons who may be able to obtain

    economic value from their disclosure.




                                                    26
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 42 of 48




           123.      ICD has taken reasonable steps to maintain the secrecy and confidentiality of the

    Trade Secrets, including through agreements that prohibit disclosure and unauthorized use of the

    Trade Secrets.

           124.      Respondents at all material times have known of the existence of the Trade Secrets.

           125.      Respondents have conspired with the Unfaithful Agents to misappropriate the

    Trade Secrets by and through improper means by, among other things, using them to solicit and

    poach ICD’s actual and prospective customers and entities having business relationships with ICD.

           126.      Respondents’ conspiracy to misappropriate the Trade Secrets has damaged (and

    continues to damage) ICD.

           127.      Respondents’ conspiracy to misappropriate ICD’s Trade Secrets has caused ICD to

    suffer continuing irreparable harm for which it has no adequate remedy at law.

                                               COUNT VII
                             Violation of Non-Compete, Fla. Stat. Chapter 542
                            (Against Corey Shader, Andrew Shader and NHS)

           128.      ICD re-alleges the allegations set forth in paragraphs 1-74.

           129.      The Pre-2019 Agreements and 2019 Agreement prohibits the above-named

    Respondents from competing against ICD.

           130.      ICD has legitimate business interests that justify the restrictive covenant in the Pre-

    2019 Agreements and the 2019 Agreement.

           131.      Those legitimate business interests include: business model and strategy, customer

    information, member information, sales information, internal business procedures and strategies,

    information, substantial relationships with prospective and existing customers, Trade Secrets and

    valuable confidential information that does not qualify as trade secrets, and goodwill.




                                                       27
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 43 of 48




           132.    The restrictive covenant is reasonably necessary to protect ICD’s legitimate

    business interests.

           133.    Respondents above have violated the restrictive covenant by competing against

    ICD and misusing ICD’s protected information, including the Trade Secrets.

           134.    Above Respondents’ violation of the restrictive covenant has damaged and will

    continue to damage ICD.

                                           COUNT VIII
                            Declaratory Judgment, Fla. Stat. Chapter 86
                          (Against Corey Shader, Andrew Shader and NHS)

           135.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           136.    The 2019 Agreement provides that ICD shall make specified payments to

    Respondents above.

           137.    Because Respondents have been faithless in the performance of the Agreement and

    have not properly performed their obligations under the Agreement, they are not entitled to the

    payments under the Agreement.

           138.    Above Respondents’ actions in breach of the Agreement and Florida law have

    caused (and continue to cause) great damage to ICD.

           139.    The damage to ICD exceeds, at the least, the payments that ICD is to make under

    the Agreement on April 10, 2020, and, likely, for the foreseeable future.

           140.    Because of this damage caused by Respondents, ICD believes that it does not have

    to make the payments provided for in the Agreement.

           141.    ICD therefore is in need of a declaration that it does not have to make payments to

    Respondents under the Agreement and that, to the extent any payment is owed, it can set-off the

    payment against all damages it has suffered by reason of Respondents’ actions.




                                                    28
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 44 of 48




           142.    There is a bona fide, actual, present practical need for the declaration.

                                          COUNT VIIII
                     Conspiracy to Breach the ICD Exclusive Agent Agreements
                                     (Against All Respondents)

           143.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           144.    The ICD Exclusive Agent Agreements are valid and binding contracts between ICD

    and the Unfaithful Agents.

           145.    ICD has performed all of its obligations under the ICD Exclusive Agent

    Agreements.

           146.    Respondents have conspired, and continue to conspire with the Unfaithful Agents

    and others, including, Kratos, Health Team One, Complete Vital Care, Vital Care One, Health

    Essential Care, and Ryscik to do an unlawful act: breach the ICD Exclusive Agent Agreements,

    and in particular the confidentiality, non-solicitation, and exclusivity provisions of those

    agreements.

           147.    Respondents and the Unfaithful Agents have taken, and continue to take, overt acts

    in furtherance of the conspiracy.

           148.    Pursuant to this conspiracy, the Unfaithful Agents breached their ICD Exclusive

    Agent Agreements.

           149.    ICD has been, and continues to be, damaged by the conspiracy to breach the ICD

    Exclusive Agent Agreements.

           150.    Respondents’ conspiracy to breach ICD’s Exclusive Agent Agreements has caused

    ICD to suffer continuing irreparable harm for which it has no adequate remedy at law.




                                                     29
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 45 of 48




                                              COUNT X
                                           Injunctive Relief
                                       (Against All Respondents)

           151.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           152.    As a result of Respondents’ continuing conduct with respect to stealing ICD’s

    business, interfering with ICD’s contractual and business relationships, illicitly soliciting ICD’s

    customers and prospective customers, and misappropriating ICD’s confidential information and

    trade secrets, ICD has suffered and will continue to suffer irreparable harm for which there is no

    adequate remedy at law.

           153.    Injunctive relief is necessary to prevent the ongoing harm being suffered by ICD as

    a result of Respondents’ ongoing actions.

           154.    ICD has a substantial likelihood of success on the merits.

           155.    An injunction will serve the public interest.

           156.    ICD will suffer additional irreparable harm in the future if Respondents are allowed

    to continue their injurious conduct.

           157.    The interests of third persons and of the public will be served by the entry of an

    injunction.

           158.    An injunction can be practically and adequately framed and enforced.

                                            COUNT XI
                                      Fraudulent Inducement
                            (Against Andrew Shader, Corey Shader, NHS)

           159.    ICD re-alleges the allegations set forth in paragraphs 1-74.

           160.    Prior to the execution of the 2019 Agreement, in November and December 2018,

    and January 2019, the Shaders and NHS represented to ICD, through Seth Cohen, that they were




                                                    30
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 46 of 48




    performing in compliance with their obligations under the Pre-2019 Agreements and/or failed to

    disclose that they were violating their obligations under the Pre-2019 Agreements.

           161.    The representation by the Shaders and NHS that they were compliant with their

    obligations under the Pre-2019 Agreements were knowingly false and were intended to induce

    detrimental reliance by ICD. The failure of the Shaders and NHS to disclose to ICD the fact that

    they were then in breach of the Pre-2019 Agreements was an omission of material fact intended to

    induce detrimental reliance by ICD.

           162.    Prior to the execution of the 2019 Agreement, in November and December 2018,

    and January 2019, the Shaders and NHS further represented to ICD, trough Seth Cohen, that they

    intended to perform their obligations under that agreement and/or failed to disclose that they had

    no intention of performing their obligations under the 2019 Agreement and were, in fact, already

    taking action that would be inconsistent with, and a violation of, the 2019 Agreement.

           163.    The representation by the Shaders and NHS that they intended to perform their

    obligations under the 2019 Agreement was false in that the Shaders and NHS had no intention of

    performing their obligations under the 2019 Agreement and was intended to induce detrimental

    reliance by ICD. The failure of the Shaders and NHS to disclose that they were already taking

    action that would be inconsistent with, and in violation of, the 2019 Agreement was an omission

    of material fact intended to induce detrimental reliance by ICD.

           164.    As a result of its reliance upon these knowingly false representations and intentional

    omissions, ICD entered into the 2019 Agreement.

           165.    ICD has been damaged as a result of the fraudulent representations and omissions

    of the Shaders and NHS.




                                                    31
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 47 of 48




                                        RELIEF DEMANDED

           WHEREFORE, ICD respectfully requests that this Court award the following relief:

           A.      All compensatory damages for all injuries suffered as a result of Respondents’

    wrongdoing;

           B.      Pre-judgment and post-judgment interest;

           C.      Attorney’s fees and costs;

           D.      Preliminary and permanent injunctive relief;

           E.      A declaration that ICD is not required to make payments under the Agreement;

    and

           F.      All other relief as may be appropriate.

                             REQUEST FOR THREE ARBITRATORS

           Pursuant to Rules 16 and L-2(a) of the American Arbitration Association Commercial

    Arbitration Rules and Mediation Procedures, ICD respectfully requests that three arbitrators be

    appointed to this dispute. As a large, complex case, the AAA’s Large, Complex Commercial

    Disputes procedures apply to this action, as the present claim is at least $1,000,000 exclusive of

    claimed interests, arbitration fees, and costs. This is a highly complex commercial dispute that

    necessitates a three-member panel. Accordingly, ICD respectfully request a three-member panel

    be appointment.




                                                    32
Case 0:21-cv-60859-RKA Document 50-1 Entered on FLSD Docket 07/15/2021 Page 48 of 48




          Dated: July 11, 2021                Respectfully submitted,

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                                         33
